     Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 1 of 51 Page ID #:1




 1 Gerald E. Hawxhurst (Bar No. 220329)
     jerry@cronehawxhurst.com
 2 Kyle Foltyn-Smith (Bar No. 307835)
 3   kfoltyn-smith@cronehawxhurst.com
   CRONE HAWXHURST LLP
 4 11111 Santa Monica Blvd., Suite 620
   Los Angeles, California 90025
 5 Telephone: (310) 893-5150
   Facsimile: (310) 893-5195
 6
   Jacob S. Pultman (Pro Hac Vice Forthcoming)
 7 jacob.pultman@ allenovery.com
   ALLEN & OVERY LLP
 8 1221 Avenue of the Americas
   New York, NY 10020
 9 Telephone: (212) 610-6300
   Facsimile: (212) 610-6399
10
   Attorneys for Plaintiff
11 Decalux S.A.,
12
13                       UNITED STATES DISTRICT COURT

14                     CENTRAL DISTRICT OF CALIFORNIA

15 DECALUX S.A.,                             CASE NO. 2:18-cv-7249
16         Plaintiff,                        COMPLAINT
17         v.
18 CLIFFORD ICHIYASU,
19          Defendants.
20
21
22
23
24
25
26
27
28

                                                                             COMPLAINT
     Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 2 of 51 Page ID #:2




 1         Plaintiff Decalux S.A. brings this action to enforce the terms of a shareholders
 2 agreement to which Clifford Ichiyasu and Decalux are both parties, and alleges as
 3 follows:
 4                                     THE PARTIES
 5         1.    Plaintiff Decalux S.A. is a Luxembourg corporation, with a registered
 6 address and principal place of business of 25 Montée de Clausen, L-1343,
 7 Luxembourg (“Decalux”). Prior to December 2014, Decalux was incorporated
 8 under the laws of Cyprus as Decalux Ltd.
 9         2.    Defendant Clifford Ichiyasu is a United States citizen, domiciled in
10 California, and resides at 1453 W 123rd Street, Los Angeles, CA 90047.
11                                    JURISDICTION
12         3.    This Court has subject matter jurisdiction over this action under 28
13 U.S.C. §1332 because the action is between a citizen of a state and a corporate
14 citizen of a foreign state, and the amount in controversy exceeds the sum or value of
15 $75,000, exclusive of interest and costs.
16                                         VENUE
17         4.    Venue is proper in this Court under 28 U.S.C. §1391 because the
18 defendant resides within the Central District of California.
19                              FACTUAL ALLEGATIONS
20         5.    Decalux and Mr. Ichiyasu are the joint, equal and only shareholders of
21 Silverwood Aviation, Inc., which is a California corporation with fifty issued shares.
22         6.    Decalux and Mr. Ichiyasu are the joint, equal and only shareholders of
23 Silverwood Properties Corporation, which is a Nevada Corporation with five
24 hundred issued shares (together with Silverwood Aviation, Inc., the “Silverwood
25 Companies”).
26         7.    The Silverwood Companies own and operate a public-use airport in
27 Hesperia, California (the “Airport”). The Airport’s assets include a runway, as well
28 as a restaurant, office and motel that are also on the Airport property.
                                               -1 -
                                                                                 COMPLAINT
     Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 3 of 51 Page ID #:3




 1         8.    The parties have been business partners in connection with the Airport
 2 since 2001.
 3         9.    The Airport’s assets are held, by and among, the Silverwood
 4 Companies.
 5         10.   Since at least 2015, Mr. Ichiyasu and Decalux have engaged in
 6 discussions commenced by Mr. Ichiyasu regarding whether to sell the Airport to a
 7 third party, and if so, on what terms. Mr. Ichiyasu and Decalux have not been able
 8 to reach agreement on these issues and, as a result, their relationship as shareholders
 9 of the Silverwood Companies has broken down.
10         11.   Mr. Ichiyasu’s and Decalux’s relationship as shareholders of the
11 Silverwood Companies is governed by a shareholders agreement dated February 11,
12 2011, signed by both Mr. Ichiyasu and Decalux (the “Shareholders Agreement”).
13 See Exhibit A and Exhibit B.
14         12.   Paragraph 6 of the Shareholders Agreement is titled “DISPUTE
15 RESOLUTION” and sets out a procedure for resolving shareholder deadlocks.
16 Specifically, Paragraph 6 of the Shareholders Agreement states that:
17               At any time, any Shareholder (the offering Shareholder) may offer to
18               purchase the shares of any other Shareholder (the non-offering
19               Shareholder) for any purchase price. Such offer shall be made in
20               writing and shall be delivered to the non-offering Shareholder at his or
21               its respective addresses set forth herein. The offer shall state the price
22               offered, and shall specify the terms of payment, specifically including
23               the price per share. The non-offering Shareholder shall have fifteen
24               (15) days from the date of receipt of the offer to accept or reject said
25               offer. The notice of acceptance or rejection shall be in writing and
26               shall be received by the offering Shareholder within said fifteen (15)
27               day period. If the non-offering Shareholder fails to respond to the
28               offer within the stated period, said failure shall be deemed to be an
                                               -2 -
                                                                                   COMPLAINT
     Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 4 of 51 Page ID #:4




 1               acceptance of the offer by the non-offering Shareholder. If the
 2               non-offering Shareholder rejects the offer, said non-offering
 3               Shareholder shall, as a condition of said rejection, be required to
 4               purchase all the shares of the offering Shareholder. The purchase
 5               price (per share) and term shall be the same as were set forth in the
 6               offering Shareholder’s original offer.
 7               See Exhibit A ¶ 6 (emphasis added).
 8         13.   The Shareholders Agreement also provides that:
 9               a.    the agreement “shall be binding on and enforceable by and
10                     against the parties to it and their respective heirs, legal
11                     representatives, successors, and assigns.” See Exhibit A ¶ 7.7
12               b.    the agreement “shall be governed by, and construed in
13                     accordance with, the laws of the State of California.” See
14                     Exhibit A ¶ 7.10
15               c.    Mr Ichiyasu’s address for the purpose of delivering an offer
16                     under Paragraph 6 is 1453 W 123rd Street, Los Angeles, CA
17                     90047. See Exhibit A ¶ 7.9
18               d.    attorney fees incurred to enforce the Shareholders Agreement are
19                     fully recoverable. See Exhibit A ¶ 7.6.
20         14.   The full language of Paragraph 7.6 of the Shareholders Agreement,
21 titled “ATTORNEY’S FEES”, is as follows:
22               If any legal action or other proceeding is brought for the enforcement
23               of the Agreement, or to interpret any of the provisions hereof, or of any
24               alleged dispute, breach, default, or misrepresentation in connection
25               with any of the provisions hereof, the successful or prevailing party
26               shall be entitled to recover reasonable attorneys’ fees and other costs
27               incurred in said action or proceeding, whether or not said action or
28               proceeding goes to final judgment, in addition to any other relief to
                                               -3 -
                                                                                     COMPLAINT
     Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 5 of 51 Page ID #:5




 1               which it may be entitled, and shall include any post-judgment
 2               attorneys’ fees incurred, any attorneys’ fees incurred by the prevailing
 3               party on appeal, by the prevailing party for any post-judgment motion
 4               proceedings or hearings, and any and all attorneys’ fees incurred in any
 5               and all efforts by the prevailing party to collect its judgment.
 6         15.   On May 4, 2018, Decalux provided Mr. Ichiyasu with an offer to
 7 purchase Mr. Ichiyasu’s shares in the Silverwood Companies (the “Offer”). The
 8 Offer was contained in two written letters: an earlier letter attached as Exhibit D,
 9 and a second letter attached as Exhibit C. Both letters were mailed to Mr. Ichiyasu
10 at 1453 W 123rd Street, Los Angeles, CA 90047, and were also sent to Mr. Ichiyasu
11 by fax.
12         16.   Together, the Offer letters set out the following terms:
13               a.    Decalux offered to purchase all of Mr. Ichiyasu’s shares in
14                     Silverwood Aviation, Inc. for $50 per share, for a total purchase
15                     price of $2,500;
16               b.    Decalux offered to purchase all of Mr. Ichiyasu’s shares in
17                     Silverwood Properties Corporation for $500 per share, for a total
18                     purchase price of two hundred and fifty thousand USD;
19               c.    The combined purchased price offered for Mr. Ichiyasu’s shares
20                     in the Silverwood Companies was two hundred fifty-two
21                     thousand five hundred USD;
22               d.    Decalux would pay Mr. Ichiyasu the amount he was owed by the
23                     Silverwood Companies under a shareholder loan, which is
24                     estimated to be $432,000;
25               e.    The Offer would be valid until May 19, 2018 and could be
26                     accepted by Mr. Ichiyasu by simple written reply; and
27               f.    The purchase price would be paid by Decalux within 3 banking
28                     days of Mr. Ichiyasu accepting the offer.
                                               -4 -
                                                                                    COMPLAINT
     Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 6 of 51 Page ID #:6




 1         17.   On May 17, 2018, Decalux sent a letter to Mr. Ichiyasu confirming that
 2 Decalux had placed the funds necessary to close on the Offer in an escrow account.
 3 See Exhibit E.
 4         18.   Mr. Ichiyasu did not respond to the Offer before the May 19, 2018
 5 deadline, which was set fifteen days after the Offer was made.
 6         19.   Under Paragraph 6 of the Shareholders Agreement, failure to respond
 7 to an offer within fifteen days of it being made is “deemed to be an acceptance of
 8 the offer by the non-offering Shareholder.” See Exhibit A ¶ 6
 9         20.   On June 6, 2018, counsel for Decalux sent a letter to Mr. Ichiyasu’s
10 counsel demanding that Mr. Ichiyasu perform his obligations under the Shareholders
11 Agreement and take steps to consummate the sale and transfer of his shares to
12 Decalux pursuant to the terms of the Shareholders Agreement. See Exhibit F.
13         21.   On June 6, 2018, in response to Decalux’s letter, counsel for Mr.
14 Ichiyasu purported to reject the Offer by email.
15         22.   On June 13, 2018, Mr. Ichiyasu’s counsel sent a letter to counsel for
16 Decalux stating, amongst other things, that the Offer had not triggered Paragraph 6
17 of the Shareholders Agreement because it had not, as is required by that Paragraph,
18 been “in writing … and delivered to the non-offering Shareholder at his or her
19 respective address set forth [in the Shareholders Agreement]”. See Exhibit G.
20         23.   The June 13, 2018 letter from Mr. Ichiyasu’s counsel did not allege that
21 Mr. Ichiyasu rejected the Offer within fifteen days of the Offer being made.
22         24.   Decalux denies that the Offer was not delivered to Mr. Ichiyasu’s
23 designated address, and repeats its allegations in sub-paragraph 13.c. and paragraph
24 15 of this complaint.
25         25.   On June 26, 2018, Decalux re-mailed the Offer to Mr. Ichiyasu at 1453
26 W 123rd Street, Los Angeles, 90047 in order to preclude any argument that
27 Paragraph 6 had not been triggered. The accompanying correspondence expressly
28 denied that the original delivery had been defective. See Exhibit I.
                                              -5 -
                                                                                  COMPLAINT
     Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 7 of 51 Page ID #:7




 1         26.   On June 26, 2018, counsel for Decalux also sent Mr. Ichiyasu’s
 2 attorneys a letter repeating Decalux’s demand that Mr. Ichiyasu perform his
 3 obligations under the Shareholders Agreement. See Exhibit H.
 4         27.   On July 6, 2018, Mr. Ichiyasu’s counsel sent Decalux’s counsel a letter
 5 stating that Mr. Ichiyasu rejected the Offer.
 6         28.   On July 13, 2018, Decalux’s counsel sent Mr. Ichiyasu’s counsel a
 7 letter denying that Mr. Ichiyasu’s rejection was valid.
 8         29.   The July 13, 2018 letter from Decalux’s counsel also stated that even if
 9 Mr. Ichiyasu’s rejection was valid, Mr. Ichiyasu would be required under Paragraph
10 6 of the Shareholders Agreement to purchase Decalux’s shares at the same terms as
11 under the Offer, and that such terms would include paying Decalux what it was
12 owed under a shareholder loan, and assuming Decalux’s obligations under a third
13 party guarantee.
14         30.   As of the date of this complaint, Mr. Ichiyasu has not sold his shares to
15 Decalux, nor has he taken steps to purchase Decalux’s shares at the same terms as in
16 the Offer.
17                              FIRST CAUSE OF ACTION
18                                  (Breach of Contract)
19         31.   Decalux incorporates by reference the allegations of paragraphs 1
20 through 30 as if set forth fully herein.
21         32.   The Shareholders Agreement is enforceable and binding on both
22 Decalux and Mr. Ichiyasu.
23         33.   The Offer, as corrected by the May 4, 2018 correction letter, triggered
24 the Dispute Resolution procedure set out in Paragraph 6 of the Shareholders
25 Agreement.
26         34.   Mr. Ichiyasu failed to reject the Offer within fifteen days of the May 4,
27 2018 Offer and is therefore deemed to have accepted the Offer.
28
                                              -6 -
                                                                                 COMPLAINT
     Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 8 of 51 Page ID #:8




 1         35.   On June 6, 2018 and June 26, 2018, Decalux sent letters to Mr.
 2 Ichiyasu’s counsel demanding that Mr. Ichiyasu perform his obligations under the
 3 Shareholders Agreement and sell his shares in the Silverwood Companies to
 4 Decalux.
 5         36.   Mr. Ichiyasu has failed to sell his shares in the Silverwood Companies
 6 to Decalux and is therefore in breach of the Shareholders Agreement.
 7                            SECOND CAUSE OF ACTION
 8                                  (Breach of Contract)
 9         37.   Decalux incorporates by reference the allegations of paragraphs 1
10 through 32 as if set forth fully herein.
11         38.   If, in the alternative, the May 4, 2018 Offer did not trigger the Dispute
12 Resolution procedure set out in Paragraph 6 of the Shareholders Agreement,
13 Decalux’s re-circulation of the Offer on June 26, 2018 did trigger Paragraph 6 of the
14 Shareholders Agreement.
15         39.   On July 6, 2018, Mr. Ichiyasu’s counsel sent Decalux’s counsel a letter
16 rejecting the Offer.
17         40.   Under Paragraph 6 of the Shareholders Agreement, a condition of Mr.
18 Ichiyasu’s rejection is that he is bound to purchase Decalux’s shares in the
19 Silverwood Companies at the same terms as under the Offer. Such terms include
20 Mr. Ichiyasu paying Decalux the amount Decalux is owed under a shareholder loan
21 and assuming Decalux’s obligations under a third party guarantee.
22         41.   On July 13, 2018, Decalux’s counsel sent a letter to Mr. Ichiyasu’s
23 counsel stating that if Mr. Ichiyasu’s rejection of the Offer was valid, Mr. Ichiyasu
24 would be required to purchase Decalux’s shares, pay Decalux what it was owed
25 under a shareholder loan, and to assume Decalux’s obligations under a third party
26 guarantee.
27
28
                                              -7 -
                                                                                  COMPLAINT
     Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 9 of 51 Page ID #:9




 1         42.   Mr. Ichiyasu has not purchased Decalux’s shares, paid out Decalux’s
 2 shareholder loan, or assumed Decalux’s obligations under the third party guarantee
 3 and is therefore in breach of the Shareholders Agreement.
 4                               PRAYER FOR RELIEF
 5         WHEREFORE, Plaintiff Decalux respectfully requests that the Court enter
 6 judgment in its favor and against defendant Mr. Ichiyasu as follows:
 7               a.    For an order of specific performance of Mr. Ichiyasu’s
 8                     obligations under the Shareholders Agreement.
 9               b.    For all additional damages sustained by Decalux as a result of
10                     Mr. Ichyasu’s breach, including, but not limited to, increased
11                     operating costs of the Silverwood Companies.
12               c.    For Decalux’s attorneys’ fees pursuant to Paragraph 7.6 of the
13                     Shareholders Agreement.
14               d.    For the costs of the suit.
15               e.    For such other and further relief as the court may deem proper.
16
17 DATED: August 17, 2018               ALLEN & OVERY LLP
18                                      CRONE HAWXHURST LLP
19
20                                       By:         /s/ Gerald E. Hawxhurst
                                           Gerald E. Hawxhurst
21                                         Kyle Foltyn-Smith
22                                         Attorneys for Plaintiff
                                           Decalux, S.A.
23
24
25
26
27
28
                                               -8 -
                                                                                COMPLAINT
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 10 of 51 Page ID #:10




                        EXHIBIT A
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 11 of 51 Page ID #:11
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 12 of 51 Page ID #:12
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 13 of 51 Page ID #:13
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 14 of 51 Page ID #:14
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 15 of 51 Page ID #:15
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 16 of 51 Page ID #:16
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 17 of 51 Page ID #:17
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 18 of 51 Page ID #:18
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 19 of 51 Page ID #:19
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 20 of 51 Page ID #:20
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 21 of 51 Page ID #:21
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 22 of 51 Page ID #:22
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 23 of 51 Page ID #:23




                        EXHIBIT B
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 24 of 51 Page ID #:24
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 25 of 51 Page ID #:25
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 26 of 51 Page ID #:26




                        EXHIBIT C
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 27 of 51 Page ID #:27
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 28 of 51 Page ID #:28
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 29 of 51 Page ID #:29




                        EXHIBIT D
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 30 of 51 Page ID #:30
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 31 of 51 Page ID #:31
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 32 of 51 Page ID #:32
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 33 of 51 Page ID #:33




                        EXHIBIT E
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 34 of 51 Page ID #:34
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 35 of 51 Page ID #:35




                        EXHIBIT F
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 36 of 51 Page ID #:36
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 37 of 51 Page ID #:37
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 38 of 51 Page ID #:38
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 39 of 51 Page ID #:39




                        EXHIBIT G
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 40 of 51 Page ID #:40
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 41 of 51 Page ID #:41
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 42 of 51 Page ID #:42
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 43 of 51 Page ID #:43




                        EXHIBIT H
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 44 of 51 Page ID #:44
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 45 of 51 Page ID #:45
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 46 of 51 Page ID #:46
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 47 of 51 Page ID #:47




                        EXHIBIT I
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 48 of 51 Page ID #:48
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 49 of 51 Page ID #:49
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 50 of 51 Page ID #:50
Case 2:18-cv-07249 Document 1 Filed 08/17/18 Page 51 of 51 Page ID #:51
